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14 Attorneys for Plaintiffs WILBUR P. G.;
   WILFREDO BALTAZAR P. E., a minor child;
15 ERENDIRA C. M.; YASMIN ALICIA M. C., a
   minor child; JOSHUA G. G.; and KARL LUIS
16 G. G., minor child

17

18
                                UNITED STATES DISTRICT COURT
19
                              NORTHERN DISTRICT OF CALIFORNIA
20
                                       OAKLAND DIVISION
21

22   WILBUR P.G., et al.,                     )   CASE NO. 4:21-cv-4457-KAW
                                              )
23           Plaintiffs,                      )
                                              )   STIPULATION REGARDING FILING OF
24      v.                                    )   AMENDED ANSWER
                                              )
25   UNITED STATES OF AMERICA,                )
                                              )
26           Defendant.                       )   Honorable Kandis A. Westmore
                                              )
27                                            )
28
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 1          The parties to the above-captioned action jointly submit this STIPULATION REGARDING

 2 AMENDED ANSWER pursuant to Federal Rule of Civil Procedure 15(a)(2).

 3

 4          WHEREAS, Defendant averred in its Answer filed on May 24, 2022 that insofar as specific

 5 allegations in the Complaint call for an admission or denial in circumstances where the United States is

 6 not permitted by law to disclose any information it may have regarding those allegations (see, e.g., 8

 7 U.S.C. § 1376), Defendant denied those allegations and averred that it would supplement its Answer

 8 upon the execution of privacy waivers from Plaintiffs (see ECF 45 at 1 ¶ 4);

 9          WHEREAS, the parties raised this issue with the Court in its initial Case Management

10 Conference Statement and their plan for Defendant to supplement its Answer upon receipt of said

11 executed waivers (see ECF No. 47 at 4);

12          WHEREAS, counsel for the parties met and conferred on the issue of procuring waivers from

13 Plaintiffs, and Plaintiffs’ counsel obtained executed waivers and provided them to counsel for Defendant

14 on July 18, 2022;

15          WHEREAS, Defendant has now supplemented its Answer for the allegations in the Complaint

16 that it was previously not able to answer without executed privacy waivers; and

17          WHEREAS, Defendant also amended its Answer to clarify its Affirmative Defense No. 18 in

18 response to an inquiry from counsel for Plaintiffs,
19

20          IT IS HEREBY STIPULATED, by the parties to this action, through their counsel of record, that

21 1) Defendant will file its Amended Answer on July 29, 2022; 2) Plaintiffs hereby provide their written

22 consent, pursuant to Federal Rule of Civil Procedure 15(a)(2), to Defendant to file its Amended Answer;

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28 STIPULATION REGARDING FILING OF AMENDED ANSWER
     CASE 4:21-CV-4457-KAW
                                                         1
                 Case 4:21-cv-04457-KAW Document 51 Filed 07/29/22 Page 3 of 3




 1 and 3) Plaintiffs have not reviewed this Amended Answer prior to its filing and will evaluate its

 2 substance after its filing.

 3

 4    DATED: July 29, 2022                                      Respectfully submitted,

 5                                                              STEPHANIE M. HINDS
                                                                United States Attorney
 6
                                                                /s/ Kenneth W. Brakebill 1
 7
                                                                KENNETH W. BRAKEBILL
 8                                                              Assistant United States Attorney
                                                                Attorneys for Defendant
 9

10                                                              KEKER, VAN NEST & PETERS LLP
11
                                                                /s/ Travis Silva
12                                                              BROOK DOOLEY
                                                                TRAVIS SILVA
13                                                              CHRISTOPHER S. SUN
                                                                Attorneys for Plaintiffs
14

15
                                                                LAWYERS’ COMMITTEE FOR CIVIL
16                                                              RIGHTS OF THE SAN FRANCISCO BAY
                                                                AREA
17
                                                                /s/ Bree Bernwanger
18                                                              BREE BERNWANGERAttorneys for Plaintiffs
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27             In compliance with Civil Local Rule 5-1(i)(3), the filer of this document attests under penalty of
     perjury that all signatories have concurred in the filing of this document.
28 STIPULATION REGARDING FILING OF AMENDED ANSWER
     CASE 4:21-CV-4457-KAW
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